Case 2:25-cv-00197-JCZ-DPC                   Document 155-1                Filed 04/22/25   Page 1 of 6




        EXHIBIT_RVMP_0001 - TABLE OF CONTENTS


 I. Introduction                                       2

 II. Technical Description of the Observed Activity.                   2

 III. Chart Analysis and Interpretation                        2

IIV. Relevance to Unauthorized Surveillance                            2

’ V. Evidence File & Hash Verification                             3

VI. Conclusion,                                            3

VII. LEGEND Timeline of Meta App Background Streaming Events.                    4

VIII. Certification of Records Pursuant to FRE 902(11)                     5-6




                                                                                                          \
Case 2:25-cv-00197-JCZ-DPC               Document 155-1            Filed 04/22/25       Page 2 of 6



      EXfflBIT_RVMP_0001_ENCRYPTED_STREAMING_PROTOCOL_MISUSE



  I. INTRODUCTION


   This exhibit presents an analysis of encrypted session behavior triggered by the Facebook

  mobile application on an iPhone device upon launch. The objective is to highlight
   automatic, unauthorized backend communications with known Meta-controlled endpoints

  specifically those used for audio/video data transport and behavioral telemetry.

  II. TECHNICAL DESCRIPTION OF THE OBSERVED ACTIVITY


  Upon opening the Facebook application, the device initiates a series of TLS-encrypted

   connections without any user interaction. These coimections target a mix of streaming

  content delivery networks and control services, such as video-atl3-l.xx.fbcdn.net and

  api.facebook.com. The communication patterns observed are indicative of pre-authorized

  media session initialization, utilizing standard protocols (TLS over port 443), with

   extensions like ALPN and SNI negotiated silently in the backgrormd.

  HI. CHART ANALYSIS AND INTERPRETATION


  The accompanying timeline visualizes the precise order of network coimections initiated by

  the app. Each connection is color-coded to reflect its role: red for video streaming, green for

  API transactions, and blue for backend coordination. A vertical orange line marks the

  moment the user opened the app. Notably, connections to streaming hosts are among the

  first initiated, well before any user interaction could have plausibly occurred.

  IV. RELEVANCE TO UNAUTHORIZED SURVEILLANCE


  This pattern of behavior is consistent with covert background access to microphone and

  camera capabilities. The presence of gRPC-style and HTTP/2 negotiation hints at a protocol

  stack capable of persistent low-latency audio/video transfer. Given the speed and order of

  these connections, this raises credible suspicion of an SDK-based surveillance architecture

  embedded within the application.

  V. EVIDENCE FILE & HASH VERIFICATION




                                                                                                      a
    Case 2:25-cv-00197-JCZ-DPC                 Document 155-1           Filed 04/22/25        Page 3 of 6




       The   data    vinderlying   this   exhibit   was   extracted   from the   evidence   file   titled

       2025 04 20       14 07 23. The integrity of this evidence is confirmed by the following

       cryptographic hashes:



        SHA-256: f9db7c4f5dc77c06c6clc40737e230el35fec6fc2774fee085e0aef 7fe569ae8
(


        SHA-1:      0da4b0 Ibf07f8d83al eebfc78dl 8cf5219daacdl

        IVID5:      8600bc 1 c0335643eda5dfecl 3a5decfd




       These hashes may be independently verified to validate the authenticity and chain of

       custody of this exhibit.

       VI. CONCLUSION


       The sequence and structure of these backend communications provide compelling evidence

       of unauthorized media stieaming capability embedded within the Facebook mobile

       application. The forensic timeline, in combination with the protocol analysis and domain

       targeting, establishes probable cause for further legal inquiry into Metas use of surveillance
       architectures on consumer devices.




                                                                                                            3
                       Case 2:25-cv-00197-JCZ-DPC                                                                                Document 155-1                                                           Filed 04/22/25                                                                    Page 4 of 6




                                                                                                                    LEGEND Timeline of Meta App Background Streaming Events
                                                   ; 9                    S&-eaming Host Triggered
          ««3LOib-auseia.smoot.appie-<            ■■    ®r                API Caitinrtiated                                                                                                                                                                                                                                                X
                          pd.itunes.appfe.com           •                 Meta Backend Control
                        fplnlt.itunes.appte.com         O                 Other Host                                                                                                                                                                                                                                              X
                   '        inetrlcs.icIou<Lcom                                                                                                                                                                                                                                                                               X
                                                       - - ' Facebook App Opened
                            apps.mzstatk.com                                                                                                                                                                                                                                                                              X
                         bagJtunes.appie.com                                                                                                                                                                                                                                                                         X    •
                                                                     f
             statlc-a03-l.xx.fbcdn.net:443                           f     ■                                                                                                                                                                                                            X                                                              X
          (JrivefronterttJ-pa.googteapis.com                          I
                                                                                                                                                                                                                                                              XX                                                                               X
                                                                     ■J
              scorilent-att3-ljocfbcdn.net                                                                                                                                                                                                                X    ■
                                                                     I
     &contenl-att3-l.cdninstagr3m.comT443                       -     ?                                                                                                                                                                               X
                                                                      i:
           extemal-att3-l.xxJbcdn,n6t;443
                                                                     t
                                                                                                                                                                                                                                                  X
               mzstoreJdLttuoes.apple.<                                                                                                                                                                                                       X
         mobjle.events.datavmicrasoft.<

               roatning.officeapps.live.com                                                                                                                                    X-'- :
                        kt*pro<J.Ms.5^ple.com                                                                                                                              X
■K                                                                   .s
o                         ifrfKjne-fd.appte.com
                                                                     f
                                                                                                                                                                       X
X
              lookaside. f3cabooif-com;443                                                                                                              K                                                                                 X
1                       static.xx.fbcdn.neE:443                                                                                                        X                                                                      X
          5content-aU3-3.xx.fl>ccln.rjet:443                                                                                                       X                                                                      X'.         •                            .       X                                                                       X
             video-aU3-2.JO(,fbcdn.net;443             ... ....I           ..       .                                                          X                                                                                  X                                                 .       X
             wdeo-atl3-ljcx.fbcdn.f>et:443                                                                                                 X                                                                                      X                                                 X
                 sconCentxx,fbcdn.netr443                                                                                              X                                                                          X
                               v.whalsapp.net                                                                                    >0<
                           gateway.icloud.com
                                                                     ■I                                                     X                               xxxx>oo<                                                                                                                                                 XX
                            yveb.facebook.<                 •        ?                                      XX>?XX>OOO©O0< X ■
          scootent-atl3-l.xx.fbcdn.net:443                                                   ...        X                                                                                                             X                                                        .X               'X           X
          scontent-atf3-2.xx.fbcdnjnet:443                          -r ■                                                                                                                                          ■       X                                                    X                X                X
                b-graph.faceboolccom:443                                                       x-i              ■                                                                             X
                                                                     t
                         m.f3cebook.com:443                                                  xUf            -                                                                                             X                                                                                          , X
                       b^api.fecebook.com:443                                           v-x'-;.':!              ■
                 Bth}um.faceboolccom:443                                            . X-                ■                                                                               •X-
                                                                     }
                        api.faceboQk.com;443                         ,          ’X                                                                                                        X
               gateway.facebook.com;443                              : X' v-x                                                                                                                         X                                                                                                  X
                  graph, facebook. com:443                           tXFai                     Aries' Ooep'ed                                                                                     X                                                                    X                             X
                           www.facebook.com                 -X-                 -                  X                                                                                                          X                                                                                              X
                                                                     I
                                                                     3
                                                                                                                                                                                                                                                                                                                                      J.

                                                                    \                   <6                                  IQ
                                                                                                   .N
                                                                                                   N                  'P-              ■P'                                      ^             ❖                               ‘P’                 <S>                  'A               ^                            4^           P-

                                                                                                                                                       Event Order (App Session Progression)




                                                                                                                                                                                                                                                                                                                                                           H

                  Hi
Case 2:25-cv-00197-JCZ-DPC                  Document 155-1        Filed 04/22/25         Page 5 of 6

                       CERTIFICATION OF RECORDS PURSUANT TO


                             FEDERAL RULE OF EVIDENCE 902(11)




   I, the undersigned, hereby certify pursuant to 28 U.S.C. § 1746 under penalty of perjury that

   I am a qualified individual capable df authenticating the attached records for evidentiary

   purposes under Federal Rule of Evidence 902(11).



   I further certify that the attached exhibit, titled:




     EXHIBIT_RVMP_0001_ENCRYPTED_STREAMING_PROTOCOL_M1SUSE

   is a true and correct copy of data obtained and preserved in the ordinary course of a forensic

   investigation. The data was collected using standard, reliable tools and procedures that are

   regularly employed as part of a systematic digital evidence acquisition process.




   Specifically, the file referenced and analyzed in the exhibit is named

     ’2025 04 20       14 07 23’



   Its integrity is validated by the following cryptographic hash values;

     SHA-256:7b6e85a0b2e6a45dbbd4a6fael9999e03f7b97£bc0adacb31f7ec9cd d.02c79d6

     SHA-1:     b5c4f5b2alc6e69c74991c03bld83e01533d0f9d

     MD5:       Ic5d6bc5f67d8126bdf61b49f2f0cf2a



   These records were created contemporaneously with the activity they describe, were

   maintained through a secure and verifiable chain of custody, and are not subject to

   modification or tampering. They are qualified as records of a regularly conducted activity

   under the requirements of Federal Rule of Evidence 803(6) and are hereby




                                                                                                       5
Case 2:25-cv-00197-JCZ-DPC              Document 155-1           Filed 04/22/25      Page 6 of 6

   self-authenticated under Rule 902(11).




   Respectfully submitted, this 20th day of April, 2025.




   s/ HIRAN RODRIGUEZ


   HIRAN RODRIGUEZ, SUIJURIS

   Pro Se Plaintiff

   820 Grove Avenue, Metairie, Louisiana, 70003-7024

   (504) 203-8459

   hiranrodriguez@outlook.com

   All Rights Reserved - UCC 1-308

   Without Prejudice - Without Recourse

   Preserving A1 Claims for Judicial Misconduct, Procedural Irregularity, and Constitutional

   Injury under 28 U.S.C. §§ 144, 455, and 351; and reserving all rights to appeal, object, and

   seek sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.


   No Joinder to any corporate, commercial, administrative, or inferior jurisdiction

   No tacit agreement presumed; no consent granted where none is explicitly expressed.
